
In re Osberry, Jerry; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court, Div. B, No. 367-651; to the Court of Appeal, Fourth Circuit, No. 99-K-2152.
Denied. Untimely and repetitive. La. C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 *5So.2d 694; La. C.Cr.P. art. 930.4(A); cf. La. C.Cr.P. art. 930.4(D).
LEMMON, J., not on panel.
